     Case 4:17-cv-03004 Document 47 Filed in TXSD on 09/25/18 Page 1 of 6



                 IN THE UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION

KIZZY LANDRY and INDIA LANDRY,

                   Plaintiffs,

v.                                                    Civil Action No. 4:17-cv-03004

CYPRESS FAIRBANKS ISD, et al.,

                   Defendants,


STATE OF TEXAS,

                   Defendant-Intervenor.



              STATE OF TEXAS’S UNOPPOSED MOTION TO INTERVENE


      The State of Texas, by and through the Attorney General of Texas, moves to

intervene in this case to defend the constitutionality of Texas Education Code Section

25.082. As the United States Supreme Court has repeatedly recognized, parents have

a fundamental interest in guiding the education and upbringing of their children.

That interest rightfully includes determining whether their children should

participate in the time-honored tradition of reciting the Pledge of Allegiance to the

United States flag. Plaintiffs challenge Texas’s statute directing school districts to

have their students recite the Pledge unless the student is excused by a written

request from a parent or guardian. Texas intervenes to protect that parental right.

      1.     The Supreme Court of the United States has ruled that “there is a

special place reserved for the flag in this Nation, and thus we do not doubt that the

government has a legitimate interest in making efforts to ‘preserv[e] the national flag

as an unalloyed symbol of our country.’” Texas v. Johnson, 491 U.S. 397, 418 (1989),
     Case 4:17-cv-03004 Document 47 Filed in TXSD on 09/25/18 Page 2 of 6




quoting Spence v. Washington, 418 U.S. 405, 412 (1974). The United States flag

represents the values of liberty and justice that form the foundation of this country

and are defended by our armed forces. It is thus deserving of the highest levels of

reverence and respect, which is expressed through every recitation of the Pledge of

Allegiance.

       2.     The People of the State of Texas, acting through their Legislature, have

determined that the Pledge of Allegiance should be included in the educational

experience of students in public and charter schools. To that end, the Texas

Legislature enacted Texas Education Code Section 25.082(b), which states in relevant

part that “[t]he board of trustees of each school district . . . shall require students,

once during each school day at each campus, to recite . . . the pledge of allegiance to

the United States flag in accordance with 4 U.S.C. § 4.” Texans are by no means

unique in this sentiment, as 26 other States have similar statutes that make reciting

the Pledge of Allegiance a regular part of every school day. 1 Furthermore, 16 other

States have statutes that allow for time to be set aside for students who wish to say

the Pledge of Allegiance. 2

1 See ALASKA STAT. ANN. § 14.03.130; ARK. CODE ANN. § 6-16-108; 14 DEL.C. § 4105-
4106; FLA. STAT. ANN. § 1003.44(1); I DAHO CODE § 33-1602; 105 I LL. COMP. STAT.
5/27-3; I OWA CODE 20-30-5-0.5(b); KAN. STAT. ANN. § 72-9928; MD. CODE ANN., EDUC.
§ 7-105; MASS. GEN. LAWS ANN. 71 § 69; MINN. STAT. ANN. § 121A.11; MISS. CODE
ANN. § 37-13-7; MO. ANN. STAT.§ 171.021; MONT. CODE ANN. § 20-7-133; N.J. STAT.
ANN. § 18A:36-3(c); N.M. STAT. ANN. § 1978, § 22-5-4.5; N.Y. EDUC. LAW § 802(1);
N.C. GEN. STAT. ANN. § 116-69.1(ii-iii); 70 OKL. STAT. ANN. § 24-106(C); R.I. GEN.
LAWS § 16-22-11 (1956); TENN. CODE ANN. § 49-6-1001; UTAH CODE ANN. § 53G-10-
304(3) (1953); V A. CODE ANN. § 22.1-202; WASH. REV. CODE ANN. § 28A.230.140; W.
VA. CODE § 18-5-15b; WIS. STAT. ANN. § 118.06(2).
2 See A LA. C ODE § 16-43-5 (1975); A RIZ. R EV. STAT . A NN . § 15-506(A)(5); C AL . E DUC.

CODE § 52720; COLO. REV. STAT. § 22-1-106(3); CONN. GEN. STAT. ANN. § 10-230(c);
GA. CODE ANN. § 20-2-310(c)(1); KY. REV. STAT. ANN. § 158.175; LA. STAT. ANN. §
17:2115; ME. REV. STAT. ANN. 20-A, § 4010; MICH. COMP. LAWS § 380.1347a; NEV.
REV. STAT. § 389.014; N.H. REV. STAT. § 194:15-c(II-III); N.D. CENT. CODE. § 15.1-19-
03.1(5); OHIO REV. CODE ANN. § 3313.602(A); OR. REV. STAT. § 339.875; S.D.
CODIFIED LAWS § 13-24-17.2.
Texas’s Unopposed Motion to Intervene                                           Page 2 of 6
      Case 4:17-cv-03004 Document 47 Filed in TXSD on 09/25/18 Page 3 of 6




       3.     Texans also recognize that a critical aspect of the liberty guaranteed by

the United States Constitution—and represented by the United States flag—is a

parent’s right to direct the education and upbringing of his or her children. See

Washington v. Glucksberg, 521 U.S. 702, 720 (1997). A State may act to protect that

interest, and the Texas Legislature did so by giving the choice of whether an

individual student will recite the Pledge to the student’s parent or guardian. TEX.

EDUC. CODE § 25.082(c) (“On written request from a student’s parent or guardian, a

school district . . . shall excuse the student from reciting a pledge of allegiance[.]”).

The U.S. Court of Appeals for the Eleventh Circuit has held that doing so is a

legitimate way to protect parents’ interest in determining how their children will be

educated on civic values and does not violate the students’ First Amendment rights.

Frazier v. Winn, 535 F. 3d 1279, 1285 (11th Cir. 2008). Eight other States have

protected the same parental right in a similar manner. 3

       4.     Plaintiffs’ Second Amended Complaint challenges the constitutionality

of Texas Education Code Section 25.082. Federal Rule of Civil Procedure 5.1 states in

relevant part that “[a] party that files a pleading . . . drawing into question the

constitutionality of a federal or state statute must promptly file a notice of

constitutional question stating the question and identifying the paper that raises

it . . . and serve the notice and paper . . . on the state attorney general if a state

statute is questioned[.]” The Attorney General is then allowed to intervene “within

60 days after the notice is filed or after the court certifies the challenge, whichever is

earlier[.]”

       5.     Plaintiffs filed a notice of service on the Attorney General of Texas of

this lawsuit on July 27, 2018. Texas hereby seeks to intervene as Defendant-


3See ARK. CODE ANN. § 6-16-108; FLA. STAT. ANN. § 1003.44(1); I DAHO CODE § 33-
1602; I OWA CODE § 20-30-5-0.5(b); TENN. CODE ANN. § 49-6-1001; UTAH CODE ANN. §
53G-10-304(3) (1953); V A. CODE ANN. § 22.1-202; WIS. STAT. ANN. § 118.06(2).
Texas’s Unopposed Motion to Intervene                                         Page 3 of 6
     Case 4:17-cv-03004 Document 47 Filed in TXSD on 09/25/18 Page 4 of 6




Intervenor to defend Texas Education Code Section 25.082 and the right of parents

to determine whether their children will recite the Pledge of Allegiance.

                                Request for Relief

      Pursuant to Federal Rule of Civil Procedure 5.1, Texas respectfully requests to

intervene in this case as Defendant-Intervenor.




Texas’s Unopposed Motion to Intervene                                       Page 4 of 6
    Case 4:17-cv-03004 Document 47 Filed in TXSD on 09/25/18 Page 5 of 6



September 25, 2018                Respectfully submitted.

                                  KEN PAXTON
                                  Attorney General of Texas

                                  JEFFREY C. MATEER
                                  First Assistant Attorney General

                                  BRANTLEY STARR
                                  Deputy First Assistant Attorney General

                                  JAMES E. DAVIS
                                  Deputy Attorney General for Civil Litigation

                                  /s/ Todd Lawrence Disher
                                  TODD LAWRENCE DISHER
                                  Attorney-in-Charge
                                  Trial Counsel for Civil Litigation
                                  Texas Bar No. 24081854
                                  Southern District of Texas No. 2985472
                                  P.O. Box 12548, Mail Code 009
                                  Austin, Texas 78711-2548
                                  Tel.: (512) 936-2266; Fax.: (512) 936-0545
                                  todd.disher@oag.texas.gov

                                  ATTORNEYS FOR THE
                                  STATE OF TEXAS




Texas’s Unopposed Motion to Intervene                                   Page 5 of 6
     Case 4:17-cv-03004 Document 47 Filed in TXSD on 09/25/18 Page 6 of 6



                          CERTIFICATE OF SERVICE

       I certify that on September 25, 2018, this document was electronically filed
with the Clerk of the Court using the CM/ECF system, which will send notification
of such filing to all counsel of record.

                                              /s/ Todd Lawrence Disher
                                              Todd Lawrence Disher



                       CERTIFICATE OF CONFERENCE

       I certify that I have conferred with Plaintiffs’ counsel, Randall Lee Kallinen,
and Defendants’ counsel, Christopher B. Gilbert and Clay T. Grover, and the existing
parties do not oppose this motion.

                                              /s/ Todd Lawrence Disher
                                              Todd Lawrence Disher




Texas’s Unopposed Motion to Intervene                                     Page 6 of 6
